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                                United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION


    DARELTECH, LLC                                       §
                                                         §
    v.                                                   §   Civil Action No. 4:18cv702
                                                         §   Judge Mazzant
    SAMSUNG ELECTRONICS CO., LTD.,                       §
    ET AL.                                               §

                           ORDER APPOINTING TECHNICAL ADVISOR

            The Court hereby appoints Scott Woloson to serve as the Technical Advisor for the Court

    in this case. The parties are ORDERED to send courtesy copies of claim construction materials

    (1) in PDF form to scott@scottwolosonlaw.com and (2) in paper form to the Law Office of Scott

    Woloson, P.C., 1431 Wirt Road #141, Houston, TX 77055.

            For claim construction materials that have already been filed as of the date of this Order,

    the filing party is ORDERED to provide copies to Mr. Woloson no later than Friday, December

    20, 2019. For claim construction materials that are filed after the date of this Order, the filing party

    is ORDERED to provide copies to Mr. Woloson no later than two business days after filing.

            The technical advisor will provide the Court with a pre-hearing memo by 5:00 p.m. on

    January 21, 2020, and will meet with the Court at the Paul Brown United States Courthouse, 101

    E. Pecan Street, Sherman, Texas 75090 on January 28, 2020, at 1:00 p.m. and again immediately

.   following the Markman hearing. Because the technical advisor serves essentially as a law clerk

    to the Court and will be familiar with the claim construction issues in this case, the Court has

    requested that the technical advisor assist the Court in drafting a claim construction order.

            IT IS SO ORDERED.
           SIGNED this 17th day of December, 2019.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
